Case 2:04-cr-20229-SH|\/| Document 110 Filed 07/07/05 Page 1 of 2 Page|D 159

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P|alntlff, )
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)
cHRlsToPl-IER leTl-l, )
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Defendant, )

 

ORDER

 

Upon motion of the United States, the trial in the above-styled case is continued
until _]&` get ,2005l .J¢ éiQQF/"F\ "“J'z;’~“ l“‘§”“‘"{‘*£‘_'b

n ls so 0RDERED this 7 day of July, 2005.

 

 

DGE

Approved by:

Q:»¢M~M

Stephen C. Parker, AUSA

 

This document entered on the docket sheet in compiiance

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April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

1\/lemphis7 TN 38103

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

